                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS



ROBERT L. NICHOLLS, and GWENDOLYN
A. HOGAN-NICHOLLS, on behalf of
themselves and all others similarly situated,

Plaintiffs,
                                                        Civil Action No. II-cv-12303-PBS
v.

EMC MORTGAGE CORPORAnON, and
DOES 1 through 10 inclusive,

Defendant.



     [PRO            ] ORDER OF FINAL APPROVAL OF CLASS ACTION SETTLEMENT
            The Court considers for final approval the settlement of this class action, which was

initiated by Plaintiffs Robert L. Nicholls and Gwendolyn A. Hogan-Nicholls ("Plaintiffs")

against Defendant EMC Mortgage Corporation, now known as EMC Mortgage LLC

("Defendant" or "EMC") (Plaintiffs and Defendant are collectively referred to as the "Parties").

The terms of the settlement are set forth in the Amended Settlement Agreement, together with

the exhibits thereto (the "Settlement" or "Settlement Agreement").

            This matter having come before the Court on March 5, 2014 for a scheduled Final

Approval Hearing as set forth in the Parties' Settlement Agreement and the Court's Order for

Preliminary Approval; and the Class Administrator having provided Class Members with due

and adequate notice as required by the Preliminary Approval Order, and the Court having

considered all papers filed and proceedings herein, reviewed all objections to approval of the

Settlement Agreement, and the Court having determined that the Settlement Agreement is fair,

adequate and reasonable, and being otherwise fully informed and finding good cause therefore,

the Court hereby ORDERS, ADJUDGES AND DECREES AS FOLLOWS:

            I.     Court has Jurisdiction. The Court has jurisdiction over the subject matter of this


1518588.1
proceeding (the "Action") and over all Parties to this proceeding, including all Settlement Class

Members. In addition, the Court has personal jurisdiction over all Settlement Class Members

with respect to this Action and the Settlement.

            2.     Class Notice is Found Adequate. As evidenced by the declaration submitted by

the Garden City Group (the "Settlement Administrator"), all potential Settlement Class Members

have received adequate notice and have been given an opportunity to exclude themselves from

this Action.

            The Class Notice provided due and adequate notice of the proceedings and ofthe matters

set forth in the Preliminary Approval Order, including the proposed settlement set forth in the

Settlement Agreement, and fully satisfied the requirements of Federal Rules of Civil Procedure

Rule 26(e) and the United States Constitutions (including the Due Process Clause), and any other

applicable law. The Class Notice also provided due and adequate notice to Settlement Class

Members of their right to exclude themselves from the Settlement, as well as their right to object

to any aspect of the proposed Settlement.

            The Court finds that the Proposed Notice specifically:

            (a)    identified the Plaintiffs and the Defendant, and described the lawsuit and the

                   settlement classes in a straightforward manner;

            (b)    succinctly described the essential terms of the proposed settlement, and identified

                   all parties against whom claims are being released;

            (c)    provided class members with information on how to opt-out ofthe Proposed

                   Settlement Class and provided all applicable deadlines for such action;

            (d)    informed potential settlement class members that if they did not exclude

                   themselves from the Proposed Settlement Class, and the settlement was approved,

                   they would be bound by the resulting judgment; and

            (e)    instructed potential Settlement Class Members to contact class counsel to obtain

                   more detailed information and provided information regarding counsel's fee and

                   expense application.


1518588.1
            Further, the Settlement Notice provided a link to a website that will be maintained by the

Settlement Administrator that includes links to the long-form settlement notice and all pertinent

pleadings in this Action.

            3.     Class Certification is Granted. For purposes of the Settlement of this Action,

the Court finds that the requirements of the Federal Rules of Civil Procedure, the United States

Constitution, the Rules of the Court and any other applicable law have been met as to the Class

defined in paragraph 5 below. Specifically, the Court finds that:

            (a)    The identities of the Settlement Class Members have been ascertained, and that

                   the Settlement Class Members are so numerous that their joinder before the Court

                   would be impracticable;

            (b)    Plaintiffs and the Settlement Class share common questions of fact and law;

            (c)    Plaintiffs' alleged claims were typical of the claims of the Settlement Class;

            (d)    Plaintiffs have fairly and adequately protected the interests of the Settlement

                   Class in that

                   I.      the interests of Plaintiffs and the nature of their alleged claims were

                           consistent with those of the members of the Settlement Class,

                   II.     there appeared to be no conflicts between or among Plaintiffs and the

                           Settlement Class,

                   iii.    Plaintiffs continued to be active participants in both the prosecution and

                           the settlement of the Action, and

                   iv.     Plaintiffs and the Settlement Class Members were represented by

                           qualified, reputable counsel who are experienced in preparing and

                           prosecuting large, complex class actions involving banking issues; and

            (e)    Questions oflaw or fact common to members of the Settlement Class

                   predominate over any questions affecting only individual members of the

                   Settlement Class and that a class-action resolution in the manner proposed by the

                   Settlement would be superior to other available methods for a fair and efficient


1518588.1
                   adjudication of the Action. In making these preliminary findings, the Court

                   considered, among other factors,

                   i.      the interest of the Settlement Class Members in individually controlling

                           the prosecution or defense of separate actions,

                   ii.     the impracticability or inefficiency of prosecuting or defending separate

                           actions.

            (f)    Certification of the Settlement Class consolidated numerous suits into a single suit

                   which promotes well established public policy as held by the United States

                   Supreme Court in Am. Pipe & Constr. Co. v. Utah, 414 U.S. 538, 553 (1974).

            Based on the findings set forth in paragraph 3 above, the Court certifies a Class for

settlement purposes under Fed. R. Civ. P. 23(a) and 23(b)(3), consisting of all borrowers with

loans secured by properties in Massachusetts who were assessed two or more late fees by EMC

anytime on or after December 1, 2005 through March 31, 2011 (the "Class Period") and who are

identified on the Class List.

            Excluded from the Settlement Class are those persons within the scope ofthe Settlement

Class who timely and validly requested exclusion from the Settlement Class. This Court hereby

finds that only those individuals listed on Attachment "A" have validly opted out of the

Settlement Class.

            4.     Final Approval of Settlement is Granted. The Court hereby finds that the

Settlement is fair, reasonable and adequate, and in the best interests of each of the Parties and the

Settlement Class Members. Representative Plaintiffs have satisfied the standards and applicable

requirement for final approval of this class action Settlement under the Federal Rules of Civil

Procedure and the United States Constitution.

            The Court finds that the Settlement Agreement has been reached as a result of intensive,

serious, and non-collusive arms-length negotiations, including mediation; the Settlement

Agreement was executed only after Class Counsel had conducted thorough and exhaustive

discovery and more than two years of active litigation; Class Counsel and Defendant's counsel


1518588.1
have concluded that the Settlement Agreement is fair, reasonable and adequate; and Class

Counsel and Defendant's counsel are reputable experienced attorneys in class actions involving

banking issues.

            In granting final approval of the Settlement, the Court considered the complexity,

expense and likely duration of the litigation; the stage of the proceedings and the amount of

discovery completed; the response of the Settlement Class Members to the Settlement; the risks

of establishing liability and damages; the risks of maintaining the class action through the trial;

the ability of the defendants to withstand a greater judgment; and the range of reasonableness of

the settlement fund in light of the best possible recovery and all the attendant risks oflitigation,

to warrant sending notice of the Settlement to the Class.

The Court finds that:

            (a)    Complexity, Expense & Likely Duration ofLitigation. Were litigation to have

                   continued, Plaintiffs and Defendant would have vigorously litigated their

                   respective claims and defenses. Both parties recognize that continued litigation

                   would result in continued motion practice and that both parties will incur

                   significant costs that could be avoided with the Settlement. Indeed, given the

                   history of the case, continued litigation may have included discovery disputes and

                   motions for summary judgment and/or summary adjudication. Accordingly, this

                   factor weighs in favor of the Settlement.

            (b)    Reaction ofthe Proposed Class to the Settlement. The Settlement Class has been

                   engaged in responding to the Settlement. According to the Declaration ofthe

                   Garden City Group, Jennifer Keough, 3,912 unique Settlement Class Members

                   were identified in the Class List. Of those Settlement Class Members, 549 did not

                   have correct addresses and 475 were located with advanced address research and

                   re-mailed. Of the 3,838 that received a notice by Mail zero objected, and two

                   asked to be excluded.

            (c)    Stage ofProceedings and the Amount ofDiscovery Completed. Counsel on both


1518588.1
                  sides have completed sufficient work and discovery to ensure that the presentation

                  made to the Court in the course of proposing the Settlement at issue is complete,

                  thorough, and accurate.

            (d)   Risks ofEstablishing Liability and Damages. Defendant recognizes that

                  continued litigation would result in possible liability and possible substantial

                  damages. Class Counsel also recognizes the time and expense associated with

                  motion practice regarding statute interpretation, including possible appeals. The

                  Settlement provides immediate relief to all Parties. Counsel for both Parties agree

                  that the Settlement is in the best interest of the Parties.

            (e)   Risks ofMaintaining Class Action Throughout the Litigation. The statutory

                  interpretation that underlies the Settlement Class claims has not been litigated.

                  The absence of a court's statutory interpretation of the Settlement C lass claims

                  increases the risks of maintaining class certification throughout the litigation and

                  favors the Settlement.

            (f)   Ability to Withstand Greater Judgment. The Settlement meets the Plaintiffs' most

                  essential requests for relief, it provides for payment of a substantial portion of the

                  late fees, and provides a waiver of any improperly assessed late fees that have not

                  been paid. Defendant's ability to pay more does not make the Settlement less

                  valuable to Settlement Class Members.

            (g)   The Range ofReasonableness ofSettlement in Light ofBest Possible Recovery

                  and All Attendant Risks ofLitigation. Based upon the evidence obtained during

                  discovery, Plaintiffs' counsel estimates that the class will net between 62% and

                  100% of the late fees it alleges were improperly assessed, net of attorneys' fees,

                  incentive payments and administrative costs. Continued litigation poses risks to

                  Defendant. Both sides agree that the Settlement is in the best interest of all

                  Parties. This factor favors final approval.

            5.    Claims are Released. As of the date of this Final Order, the Representative


1518588.1
Plaintiffs and all Settlement Class Members shall be bound by the releases set forth in the

Settlement Agreement, regardless of whether such persons received any compensation under the

Settlement Agreement. Except as to such rights or claims that may be created by the Settlement

Agreement, all Settlement Class Members as of the date of this Final Order who did not timely

exclude themselves are hereby forever barred and enjoined from prosecuting or seeking to

reopen the Settled Claims, and any other claims released by the Settlement Agreement, against

the released parties.

            Neither the Settlement Agreement nor any of the terms set forth in the Settlement

Agreement are admissions by Defendant ofliability on any of the allegations alleged in the

Action, nor is this Final Order a finding of the validity of any claims in the lawsuit, or of any

wrongdoing by Defendant.

            6.     Plaintiffs Appointed as Class Representatives. The Court reaffirms its

appointment of Plaintiffs Robert L. Nicholls and Gwendolyn A. Hogan-Nicholls as

representatives of the Class ("Class Representatives").

            7.     Incentive Awards Granted to Class Representatives. The Court also hereby

approves the payment of a total sum of $3,000 to be paid from the Settlement Fund to the Class

Representatives to compensate them for their participation as Class Representatives. The

payment authorized by this paragraph shall be made in accordance with the terms of the

Settlement Agreement.


                                                                                       .i




1518588.1
            8.     Kabateck Brown Kellner LLP, Block & Leviton LLP, Cohen Milstein Sellers

& Toll PLLC, The Wentz Law Firm and Appointed Class Counsel. The Court finds that, as

required by Fed. R. Civ. P. 23(g), Class Counsel has fairly, adequately, and competently

represented the interests of the Settlement Class throughout this litigation. The Court finds that

Class Counsel, in its representation of the Settlement Class, has complied with the applicable

Rules of Professional Conduct. The Court, having considered all objections, and based on its

review of the experience of Block & Leviton LLP, Cohen Milstein Sellers & Toll PLLC, The

Wentz Law Firm, and Kabateck Brown Kellner LLP, reaffirms its finding that they:

            (a)    have done appropriate work identifying or investigating potential claims in the

                   action and litigating those claims to date, including reaching the settlement now

                   before the Court;

            (b)    are experienced in handling class actions;

            (c)    have demonstrated that they are knowledgeable of the applicable law;

            (d)    have committed the necessary resources to represent the Settlement Class; and

            (e)    have responded appropriately, competently, and in accordance with the Rules of

                   Professional Conduct to Settlement Class members' requests for information and

                   documentation related to this action.

            The Court therefore find that Class Counsel is qualified, reputable counsel who are

experienced in preparing and prosecuting large, complex class actions involving banking issues.

Based on the foregoing, the Court reaffirms its appointment of Kabateck Brown Kellner LLP,

Block & Leviton LLP, Cohen Milstein Sellers & Toll PLLC, The Wentz Law Firm as Class

Counsel ("Class Counsel").

            9.     Attorney's Fees Granted to Class Counsel. Pursuant to the terms of the

Settlement Agreement, and the Authorities, evidence, and argument set forth in Class Counsel's

application, the Court hereby finds that an award of attorneys' fees in the amount 0($185,000

and costs in the amount of $1},989.63 as final payment for and complete satisfaction of any and

all attorneys' fees and costs incurred by and/or owed to Class Counsel is hereby granted.


1518588.1
            The Court finds that Class Counsel's request falls within the range of reasonableness and

that the result achieved justifies the award. The payment of fees and costs to Class Counsel shall

be made by Defendant in accordance with the terms ofthe Settlement Agreement.

            10.    Class Administration Costs. The Court hereby approves the payment of the

reasonable costs of administration to the Garden City Group associated with the performance
                                                                                    ..      of

its duties of$26,041.74. The payment authorized by this paragraph shall be made in accordance

with the terms of the Settlement Agreement.

            11.    Settlement Fund Ordered Disbursed. The Court approves and orders the

disbursements ofthe Settlement proceeds be made and administered to all borrowers with loans

secured by properties in Massachusetts who were assessed two or more late fees by EMC during

the Class Period and who are identified on the Class List and did not opt-out.

            Defendant is required to make all payments and/or take all actions necessary to support

the disbursement of Settlement proceeds in accordance with the terms of the Settlement

Agreement.

            Without affecting the finality of the Settlement Agreement or accompanying Judgment,

this Court shall retain exclusive and continuing jurisdiction over the Parties, including all

Settlement Class Members, relating to this action and the administration, consummation,

enforcement and interpretation ofthe Settlement Agreement, this Final Order, the Final

Judgment, and for any other necessary purpose.

            The terms ofthe Settlement Agreement, this Final Order, and the accompanying Final

Judgment are binding on the Representative Plaintiffs and all other Settlement Class Members,

as well as their heirs, executors and administrators, successors and assigns, and those terms shall

have res judicata and other preclusive effect in all pending and future claims, lawsuits or other

proceedings, whether known or unknown, as set forth in the Settlement Agreement.

The Parties are hereby authorized, without needing further approval from the Court, to agree to

and adopt such amendments to, and modification and expansions of, the Settlement Agreement,

as are in wring and signed by the parties' counsel and are consistent with this Final Order.


1518588.1
                                                                                       .1
            There is no reason to delay the enforcement of this Order and the accompanying

Judgment.

            IT IS SO ORDERED.
                                                       .-----_..... j           \
DATED:                                         <.           )"/CJ.TCc:iS ~~1.A/)
                                                       Honorable Chief Judge Patti B. Saris
                                                       United States District Judge




1518588.1
                                       Attachment "A"



The following two individuals submitted requests to exclude themselves from the class

settlement:



    1. Michael F. McGuire

            9 Lisa Drive

            Taunton, MA 02780-1407

    2. Kendal B. Price

            9 Ravenna Road

            West Roxbury, MA 02132




1518588.J
